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                        CERTIFICATE OF SERVICE



      I HEREBY CERTIFY THAT I HAVE THIS       /6' DAY OF

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FOREGOING TO BE SERVED UPON THE DEFENDANTS BY PLACING THE SAME

IN THE U.S. MAIL, POSTAGE PREPAID AND ADDRESSED _AS FOLLOWED;______




ATTORNEY GENERAL                       WEBSTER HENRY, P.C.
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                                       DANIEL ARNENDARIZ




                                   AIS#313909
                                   ELMORE CORRECTIONAL FACILITY
                                   3520 WRION SPILLWAY RD.
                                   ELMORE,AL 36025
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